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12

13                       UNITED STATES DISTRICT COURT
14                    SOUTHERN DISTRICT OF CALIFORNIA
15   WI-LAN, INC.; WI-LAN USA, INC.; &                 '17CV358 MMA BGS
                                              Case No. _____________________
16
     WI-LAN LABS, INC.,
                                              COMPLAINT FOR
17               Plaintiffs,                  INFRINGEMENT OF U.S.
                                              PATENT NOS. 8,787,924,
18   vs.                                      8,867,351, 9,226,320, & 9,497,743
19   LG ELECTRONICS, INC.; LG                 DEMAND FOR JURY TRIAL
20   ELECTRONICS U.S.A., INC.; LG
     ELECTRONICS MOBILECOMM
21   U.S.A., INC.
22
                 Defendants.
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 1         Plaintiffs Wi-LAN Inc., Wi-LAN USA, Inc. and Wi-LAN Labs, Inc.
 2   (collectively, “Wi-LAN” or “Plaintiffs”) hereby submit this Complaint against
 3   Defendants LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics
 4   Mobilecomm U.S.A., Inc. (collectively, “LG” or “Defendants”).
 5                                   NATURE OF ACTION
 6         1.    This is an action for infringement of U.S. Patent Nos. 8,787,924 (“the
 7   ‘924 Patent”), 8,867,351 (“the ‘351 Patent”), 9,226,320 (“the ‘320 Patent”), and
 8   9,497,743 (“the ‘743 Patent”). The ‘924 Patent, ‘351 Patent, ‘320 Patent, and ‘743
 9   Patent are hereby incorporated by reference.
10                                       THE PARTIES
11         2.    Plaintiff Wi-LAN, Inc. is a corporation organized and existing under
12   the laws of Canada with its principal place of business at 303 Terry Fox Drive,
13   Suite 300, Ottawa, ON, K2K 3J1, Canada.
14         3.    Plaintiff Wi-LAN USA, Inc. is a corporation organized and existing
15   under the laws of Florida with its principal executive office at 303 Terry Fox
16   Drive, Suite 300, Ottawa, ON, K2K 3J1, Canada, and a principal business office at
17   600 Anton Blvd., Suite 1350, Costa Mesa, CA, 92626.
18         4.    Plaintiff Wi-LAN Labs, Inc. is a corporation organized and existing
19   under the laws of Delaware with its principal executive office at 303 Terry Fox
20   Drive, Suite 300, Ottawa, ON, K2K 3J1, Canada, and a principal business office at
21   5962 La Place Court Suite 265, Carlsbad, CA 92008.
22         5.    LG Electronics, Inc. is incorporated under the laws of South Korea
23   with its principal place of business at LG Twin Towers 20, Yeouido-dong,
24   Yeongdeunspo-gu, Seoul 150-721, South Korea. Upon information and belief, LG
25   Electronics, Inc. owns and controls, directly and/or indirectly, LG Electronics
26   U.S.A., Inc. and LG Electronics Mobilecomm U.S.A., Inc.
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     COMPLAINT - INFRINGEMENT OF U.S.
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 1         6.     LG Electronics U.S.A., Inc. is a Delaware corporation with its
 2   principal place of business at 1000 Sylvan Ave, Englewood Cliffs, New Jersey.
 3   LG Electronics U.S.A., Inc. may be served via its registered agent, United States
 4   Corporation Company, 2711 Centerville Rd. Ste. 400, Wilmington, DE 19808.
 5         7.     LG Electronics Mobilecomm U.S.A., Inc. is a California corporation
 6   with its principal place of business at 10225 Willow Creek Rd., San Diego,
 7   California 92131. LG Electronics Mobilecomm U.S.A., Inc. may be served via its
 8   registered agent, Corporation Service Company (Which will do Business in
 9   California as CSC - Lawyers Incorporating Service), 2710 Gateway Oaks Dr. Ste.
10   150N Sacramento, CA 95833.
11                              JURISDICTION AND VENUE
12         8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
13   §§ 1331 and 1338(a) because this action arises under the patent laws of the United
14   States, 35 U.S.C. §§ 101 et seq.
15         9.     This Court has personal jurisdiction over LG as personal jurisdiction
16   over LG in this action comports with due process. LG has conducted and regularly
17   conducts business within the United States and this judicial district. LG has
18   continuous and systematic contacts with California and this judicial district.
19   Furthermore, LG has purposefully availed itself of the privileges of conducting
20   business in the United States and this judicial district. LG has sought protection
21   and benefit from the laws of the State of California by maintaining offices in
22   California and this judicial district, by selling products with the expectation and/or
23   knowledge that they will be purchased by consumers in this judicial district, and/or
24   by offering advertisements targeted at consumers in this judicial district, and/or by
25   having partners and customers in this judicial district. In California and in this
26   judicial district, LG regularly does or solicits business and engages in other
27   persistent courses of conduct. LG derives substantial revenue from services
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 1   provided to individuals in California and in this judicial district. Plaintiff’s causes
 2   of action arise directly from LG’s activities in this judicial district. In particular,
 3   LG’s research and development division is based in San Diego. And LG’s San
 4   Diego-based division is the center of LG’s 3GPP and standardization efforts. LG
 5   has even sought to transfer other patent cases involving LTE technology to the
 6   Southern District of California.
 7         10.    Joinder of Defendants is proper because Defendants are related parties
 8   who are either jointly and severally liable for infringement, or who make, use, sell,
 9   offer for sale, or import the same or similar accused products that practice the same
10   4G LTE standards. Further, upon information and belief, Defendants use the same
11   chip suppliers and chipsets in their infringing products, meaning the factual
12   question of infringement will substantially overlap between Defendants. Further,
13   Plaintiffs anticipate that there will be substantial overlap during the discovery
14   process.
15         11.    Venue is proper in this federal district pursuant to 28 U.S.C. §§
16   1391(b)-(c) and 1400(b) in that one or all Defendants reside in this District, have
17   done business in this District, have regular and established places of business in
18   this District, have committed acts of infringement in this District, and continue to
19   commit acts of infringement in this District, entitling Plaintiffs to relief.
20         12.    No other venue is more convenient than the Southern District of
21   California. Plaintiff Wi-LAN Labs, Inc. resides in this district. Two of the three
22   patents in suit were developed in this district (and the other was developed
23   elsewhere in California). Further, many of the inventors of the patents-in-suit,
24   including Ken Stanwood, Yair Bourlas, Adam Newham, and Lei Wang currently
25   reside in this district. And Wi-LAN’s current U.S. headquarters is also located in
26   California (600 Anton Boulevard, Suite 1350, Costa Mesa, California 92626).
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 1   Also, important third-party suppliers for Defendants’ infringing products reside in
 2   this district.
 3                          BACKGROUND OF THE TECHNOLOGY
 4          13.       Wi-LAN Labs developed advanced 4G technologies and products for
 5   Wi-LAN and others in the wireless industry that enhance the capacity, quality of
 6   user experience, and connectivity of 4G (and next generation 5G) mobile devices
 7   and networks.
 8          14.       Several of the 4G patents asserted in this action were developed by
 9   Wi-LAN’s own Ken Stanwood, the former president of Wi-LAN Labs and current
10   CTO at Wi-LAN, Inc., and his team.
11          15.       Mr. Stanwood has played a leadership role in the development of 4G
12   technologies and standards for more than a decade, starting with the industry’s first
13   major 4G cellular initiative, referred to as WiMAX. He served as Vice Chair of the
14   IEEE 802.16 standards committee for WiMAX from 2003-2006 and as a principal
15   contributor to the original IEEE 802.16 standard for 4G cellular networks and
16   mobile devices.
17          16.       Mr. Stanwood has written extensively on 4G technologies, including
18   coauthoring a popular textbook on the subject, and has been awarded 125 U.S.
19   patents, with many more patent applications currently pending before the United
20   States Patent Office and worldwide, many of which relate to 4G technologies.
21          17.       Like Ken Stanwood, Wi-LAN’s founders, Michel Fattouche and
22   Hatim Zaghloul, are widely recognized and acknowledged as wireless industry
23   pioneers. Their technologies, patents and writings have been cited in patents and
24   publications written by thousands of engineers and scientists in the wireless
25   industry.
26          18.       Wi-LAN’s founders developed key cellular “data” technologies,
27   including the W-OFDM air interface, to enable data to be exchanged at desktop
28
      COMPLAINT - INFRINGEMENT OF U.S.
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 1   speeds over a wireless channel, such as in Wi-Fi networks, or from mobile devices
 2   in 4G cellular networks. Wi-LAN’s technologies have made Wi-Fi and 4G in
 3   mobile devices possible.1
 4            19.    The Wi-LAN success story is featured in major publications
 5   worldwide, including in such publications as Scientific American2 and Time
 6   Magazine,3 and in many others. Wi-LAN and its founders have also been the
 7   subject of numerous industry awards for their wireless innovations, and for their
 8   contribution to the growth in wireless data capability present in today’s
 9   smartphones, tablets, and other mobile devices.
10            20.    One of Wi-LAN’s co-founders is featured in one of Canada’s leading
11   business publications as among the Top 100 Canadians of the 20th century for Wi-
12   LAN’s wireless innovations.4 And Wi-LAN’s original wireless designs and first
13

14
     1
15     See, e.g., Ergen, Mustafa, Mobile Broadband: Including WiMAX and LTE, John
     Wiley & Sons, 2009 at p. 110, Section 4.1 “Principles of OFDM: Introduction”
16
     (recognizing one of Wi-LAN’s first patents, U.S. Patent No. 5,282,222, to W-
17   OFDM as a major milestone in the development of Wi-Fi and 4G technologies,
     turning a single lane wireless communication channel into a multi-lane super
18
     highway, and enabling mobile devices to transmit and receive data at desktop
19   speeds).
     2
20     The Future of Wireless, Scientific American, October 2000 at p. 57 (“To date,
     wireless multiplexing hasn’t been exploited for cellular systems…. That may
21
     change soon…. Wi-LAN holds a number of key patents for multiplexing
22   technology known as wideband orthogonal frequency division multiplexing, or W-
     OFDM”).
23
     3
      Wi-LAN Shows How to be Successful-and Canadian-in the Global Economy,
24   Time Magazine, April 3, 2000.
25   4
       Great Canadians, Maclean’s, July 1, 2000 (“Riding the wave of invention ... Wi-
26   LAN is one of those next generation companies. Its technology may well become
     the base for what some call the coming wireless revolution: the ability to e-mail,
27   surf the Net, adjust the lights in your home and order theater tickets from a
28   cellphone or handheld computer.”)
         COMPLAINT - INFRINGEMENT OF U.S.
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 1   wireless mobile device have been displayed in the Canadian equivalent of the
 2   Smithsonian Institution.
 3         21.    Enabling high-speed wireless data capability in mobile devices was no
 4   small task–it posed incredible challenges–something we take for granted today
 5   with desktop speeds now standard in 4G mobile devices.
 6         22.       Over the years, Wi-LAN, Wi-LAN Labs, and their predecessors have
 7   invested hundreds of millions of dollars in developing, making and selling many of
 8   the world’s first fixed and mobile devices capable of transmitting and receiving
 9   wireless data at desktop speeds.
10         23.       Wi-LAN’s products which had 4G data speeds include, among
11   others, the I.WILL, BWS 300, LIBRA 3000, LIBRA 5800, LIBRA MX, and the
12   LIBRA Mobilis.
13         24.       Wi-LAN was the first company in the world to build Wi-Fi and 4G
14   data speeds into mobile devices, with speeds reaching up to 100 megabits per
15   second (Mbps), and it did so a decade before 4G would become the standard in the
16   wireless industry that it is today.
17         25.    A number of Wi-LAN’s advanced 4G technologies have their origin
18   in work started by Wi-LAN’s Ken Stanwood and his team while at Ensemble
19   Communications (“Ensemble”), a San Diego company that Mr. Stanwood helped
20   grow (then, as Ensemble’s Chief Technology Officer) to over 200 engineers,
21   scientists, and support personnel.
22         26.    Others of Wi-LAN’s advanced 4G technologies have their origin in
23   work created at NextWave Communications, another San Diego company where
24   Mr. Stanwood served as a Vice President. And yet other technologies were first
25   developed at SOMA network, a California-based company involved in 4G
26   technologies.
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 1         27.    The advanced 4G technologies developed by Mr. Stanwood and his
 2   team were employed in the network stacks utilizing the 4G WiMAX cellular
 3   standard, and were subsequently adopted for use in the network stacks utilizing the
 4   4G LTE cellular standard used in today’s 4G mobile devices.
 5         28.    These advanced 4G technologies include:
 6         (i) the bandwidth-on-demand and periodic bandwidth services built into 4G
 7   mobile devices to enable apps installed on such devices to have the bandwidth they
 8   need, when they need it, in real-time;
 9         (ii) the quality-of-service functions built into 4G mobile devices to enable
10   mobile devices to prioritize the services that have the most pressing need for
11   bandwidth; and
12         (iii) the handoff functionality built into 4G mobile devices to identify
13   particular devices and use pre-allocated codes to respond faster to requests from
14   mobile devices.
15         29.    The efforts of Mr. Stanwood and other Wi-LAN inventors in
16   developing these advanced 4G technologies have enabled 4G mobile devices to
17   support a variety of services popular among users of Defendants’ 4G LTE mobile
18   devices, such as voice, conversational video, live streaming of video and music,
19   real-time gaming, video and photo sharing, email, and instant messaging, all in the
20   palm of your hand (“4G Network Services”).
21         30.    Wi-LAN’s wireless technologies and patents, including its advanced
22   4G technologies, have been licensed by nearly all companies in the wireless
23   industry, comprising more than 130 companies.
24         31.    Defendants’ infringement gives them an unfair advantage over their
25   competitors, many of whom have chosen to do the right thing and license their use
26   of Wi-LAN’s wireless technologies and patents. Many of Defendants’ major
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 1   competitors in the mobile device industry, including Samsung, HTC, Nokia and
 2   BlackBerry have licensed Wi-LAN’s wireless technologies and patents.
 3            32.   Wi-LAN has made numerous efforts to license the unauthorized use
 4   of its wireless technologies by the Defendants, but Defendants have consistently
 5   refused to take a license, choosing to use Wi-LAN’s 4G technologies without
 6   paying anything for that right.
 7            33.   Defendants have willfully chosen to not respect the intellectual
 8   property of Wi-LAN, including the three 4G patents asserted in this action directed
 9   to Wi-LAN’s advanced 4G technologies, and it does so despite understanding the
10   importance of intellectual property.
11            34.   Before initiating litigation, Wi-LAN made substantial efforts to
12   license Defendants’ use of Wi-LAN’s advanced 4G technologies and patents in
13   their 4G LTE mobile devices, expecting that Defendants would proceed in good
14   faith.
15            35.   During the spring of 2016, Wi-LAN contacted the Defendants to
16   engage in licensing the patents-in-suit relating to LTE and 4G wireless technology.
17   Defendants initially expressed interest. But despite Wi-LAN’s repeated efforts,
18   Defendants failed to take a license.
19            36.   Defendants’ actions have forced Wi-LAN’s hand, leaving it with no
20   choice but to protect its intellectual property through litigation.
21                        DEFENDANTS’ INFRINGING PRODUCTS
22            37.   LG directly or indirectly through subsidiaries or affiliated companies
23   markets, distributes, manufactures, imports, sells, and/or offers for sale wireless
24   communication products, such as products compliant with the 3rd Generation
25   Partnership Project (“3GPP”) 4G LTE standard, including but not limited to the
26   LG V20, LG Watch Urbane 2nd Edition LTE, LG Stylus 3, LG Stylo 2 V, LG
27   Stylo 2 Plus, LG Stylo 3, LG K3 2017, LG K4 2017, LG K8 2017, LG K10 2017,
28
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  1   LG K8V, LG G Stylo, LG Stylo 2, LG Tribute HD, LG Aristo, LG G5, LG G4, LG
  2   G4c, LG G3, LG G3 S, LG G3 Beat, LG G3 Vigor, LG G2, LG K7, LG X Power,
  3   LG X Mach, LG X cam, LG X screen, LG Leon LTE, LG K10, LG B470, LG
  4   B471, LG Escape 3, LG Volt, LG Premier LTE, LG Treasure LTE,LG Classic, LG
  5   Rebel, LG Treasure, LG X style, LG Premier, LG K3, LG K8, LG K4, LG
  6   Optimus Zone 3, LG Optimus G Pro, LG K8 V, LG K8, LG Phoenix 2, LG Tribute
  7   5, LG Wine 4, LG V10, LG Tribute 5, LG Spree, LG G Vista 2, LG Risio, LG
  8   Terra, LG Exalt II, LG Sunrise, LG G Flex 2, LG Destiny, LG Sunset, LG 441G,
  9   LG Access, LG Envoy III, LG 450, LG True, LG Revere 3, LG Extravert 2, LG
 10   XPression 2, LG G Flex, LG Cosmos 3, LG G Pad X II, LG G Pad X, LG G Pad F,
 11   and LG G Pad, in the United States and in this district. As some of these products,
 12   and additional LG LTE devices, are known by internal model numbers,
 13   codenames, or have alternate versions and iterations, discovery will be necessary to
 14   finalize a list of devices that infringe the patents-in-suit. LG’s products support at
 15   least Release 8, et seq. of the 4G LTE standard.
 16         38.    Upon information and belief, LG’s products also include software
 17   and associated hardware that prioritize the transmission of data generated by
 18   various applications that run on these LG products, and in doing such prioritization
 19   utilize the claimed inventions of the patents asserted in this action.
 20                               WILLFUL INFRINGEMENT
 21         39.    Prior to the filing of this complaint, Defendants knew or should have
 22   known that they infringed the patents-in-suit. On April 7, 2016, Wi-LAN invited
 23   LG to renew its license to Wi-LAN’s “wireless portfolio,” including its patents
 24   covering “LTE.” LG knew or reasonably should have known based on its prior
 25   license that such patents in the “wireless portfolio” covering “LTE” included the
 26   three patents-in-suit. Yet despite repeated requests from Wi-LAN on May 16, June
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      COMPLAINT - INFRINGEMENT OF U.S.
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  1   10, and June 27, 2016, LG declined to substantively engage in licensing
  2   negotiations with Wi-LAN or take a license.
  3         40.    Accordingly, LG has had knowledge, or reasonably should have had
  4   knowledge, of the patents-in-suit since at least April 7, 2016 and certainly by the
  5   filing of this complaint. Despite such knowledge, Defendants have proceeded to
  6   infringe the patents-in-suit with full and complete knowledge of their applicability
  7   to their respective 4G LTE products without taking a license and without a good
  8   faith belief that the patents-in-suit are invalid and not infringed. Defendants’
  9   infringement of the patents-in-suit thus occurs with knowledge of infringement
 10   and/or objective recklessness and has been and continues to be willful and
 11   deliberate. Thus, Defendants’ infringement of the patents-in-suit is willful and
 12   deliberate, entitling Wi-LAN to increased damages under 35 U.S.C. § 284 and to
 13   attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.
 14                   INFRINGEMENT OF U.S. PATENT NO. 8,787,924
 15         41.    Wi-LAN incorporates the allegations of paragraphs 1 through 40
 16   above as if set forth verbatim herein.
 17         42.    On July 22, 2014, United States Patent No. 8,787,924 (“the ‘924
 18   Patent”) was duly and legally issued for inventions entitled “Methods and Systems
 19   for Transmission of Multiple Modulated Signals Over Wireless Networks.” Wi-
 20   LAN owns the ‘924 Patent and holds the right to sue and recover damages for
 21   infringement thereof.
 22         43.    On information and belief, Defendants have directly infringed and
 23   continue to directly infringe numerous claims of the ‘924 Patent, including at least
 24   claims 1 and 17, by manufacturing, using, selling, offering to sell, and/or importing
 25   their respective accused 4G LTE devices. Defendants are liable for infringement of
 26   the ‘924 Patent pursuant to 35 U.S.C. § 271(a).
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  1         44.    For example, the LG accused 4G LTE devices comply with the 4G
  2   LTE standards, including the UL-SCH data transfer procedure specified by 3GPP
  3   TS 36.321 at section 5.4. In particular, the accused 4G LTE devices first transmit a
  4   Scheduling Request (i.e., “a one bit message to the base station to request an
  5   allocation of UL bandwidth in which to transmit a bandwidth request”) and then
  6   subsequently transmit a Buffer Status Report (i.e., a “bandwidth request indicative
  7   of an amount of pending UL data”). Thereafter, the accused devices dynamically
  8   allocate the assigned UL bandwidth amongst their respective “UL services based
  9   on a QoS parameter of a respective service.”
 10         45.    Defendants have been and are now indirectly infringing at least one
 11   claim of the ‘924 Patent in accordance with 35 U.S.C. § 271(b) in this district and
 12   elsewhere in the United States. More specifically, Defendants have been and are
 13   now actively inducing direct infringement by other persons (e.g., Defendants’
 14   customers who use, sell or offer for sale products that embody and/or otherwise
 15   practice one or more claims of the ‘924 Patent).
 16         46.    By at least the filing of this complaint, Defendants had knowledge of
 17   the ‘924 Patent, and that their actions resulted in a direct infringement of the ‘924
 18   Patent, and knew or were willfully blind that their actions would induce direct
 19   infringement by others and intended that their actions would induce direct
 20   infringement by others.
 21         47.    Defendants actively induce such infringement by, among other things,
 22   providing user manuals and other instruction material for their devices that induce
 23   their customers to use Defendants’ devices in their normal and customary way to
 24   infringe the ‘924 Patent. For example, LG’s website provides instructions for
 25   using the LG devices on 4G LTE networks. See, e.g., http://www.lg.com/us/4g-
 26   lte-phones (noting that “LG 4G LTE phones feature forward-thinking designs and
 27   innovative technology” and emphasizing the “4G LTE phone Network,” which
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  1   permits the accused LG 4G LTE devices to “stay connected wherever you go on a
  2   super-fast LTE network, for seamless and reliable use.”). As does LG’s user
  3   documentation for the accused devices. See, e.g., http://www.lg.com/us/support-
  4   mobile/lg-H910-Silver (encouraging customers to use the “Enhanced LTE
  5   Service”). Through its manufacture and sales of their devices, Defendants
  6   specifically intended for their customers to infringe the ‘924 Patent. Further,
  7   Defendants were aware that these normal and customary activities would infringe
  8   the ‘924 Patent.      Defendants performed the acts that constitute induced
  9   infringement, and that would induce actual infringement, with knowledge of the
 10   ‘924 Patent and with the knowledge or willful blindness that the induced acts
 11   would constitute direct infringement.
 12         48.    Accordingly, a reasonable inference is that Defendants specifically
 13   intend for others, such as their customers, to directly infringe one or more claims
 14   of the ‘924 Patent in the United States because Defendants had knowledge of, and
 15   were aware of Wi-LAN’s infringement allegations concerning, the ‘924 Patent and
 16   actively induced others (e.g., its customers) to directly infringe the ‘924 Patent by
 17   using, selling, or offering to sell Defendants’ 4G LTE devices.
 18         49.    Defendants have been and are now indirectly infringing at least one
 19   claim of the ‘924 Patent in accordance with 35 U.S.C. § 271(c) in this district and
 20   elsewhere in the United States. More specifically, Defendants have been and are
 21   now providing non-staple articles of commerce to others for use in an infringing
 22   system or method with knowledge of the ‘924 Patent, and with knowledge that the
 23   use of their products resulted in a direct infringement of the ‘924 Patent by their
 24   customers, and with knowledge that these non-staple articles of commerce are used
 25   as a material part of the claimed invention of the ‘924 Patent.
 26         50.    Defendants’ devices compliant with 4G LTE include components
 27   comprising an application processor and a baseband processor specifically
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 12 -
      9,226,320, & 9,497,743.
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  1   designed to support communication and transmission of data over 4G LTE-
  2   compliant networks. These components are mounted to a circuit board in
  3   Defendants’ accused devices and, absent these components, Defendants’ devices
  4   compliant with 4G LTE would not function in an acceptable manner to send or
  5   receive data over 4G LTE networks. A reasonable inference to be drawn from the
  6   facts set forth is that these components in Defendants’ devices are especially made
  7   or especially adapted to operate in the accused devices to provide wireless
  8   communication, including the transmission of data in accordance with the 4G LTE
  9   standard. Further, a reasonable inference to be drawn from the facts is that these
 10   components comprising an application processor and a baseband processor are
 11   intended to support communication of data over a 4G LTE network and are not
 12   staple articles or commodities of commerce, and that the use of the components is
 13   required for operation of the devices to send or receive data over a 4G LTE-
 14   compliant network. Any other use would be unusual, far-fetched, illusory,
 15   occasional, aberrant, or experimental.
 16           51.   The components comprising an application processor and a baseband
 17   processor designed to support communication of data using 4G LTE in
 18   Defendants’ devices are each a material part of the invention of the ‘924 Patent and
 19   are especially made for the infringing manufacture, sale, and use of Defendants’
 20   accused devices. Defendants’ devices, including those components, are especially
 21   made or adapted to infringe the ‘924 Patent, and have no substantial non-infringing
 22   uses.
 23           52.   The ‘924 Patent is valid and enforceable.
 24           53.   Defendants’ infringement of the ‘924 Patent has damaged Wi-LAN,
 25   and Defendants are liable to Wi-LAN in an amount to be determined at trial that
 26   compensates Wi-LAN for the infringement, which by law can be no less than a
 27   reasonable royalty.
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 13 -
      9,226,320, & 9,497,743.
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  1         54.    As a result of Defendants’ infringement of the ‘924 Patent, Wi-LAN
  2   has suffered irreparable harm and will continue to suffer loss and injury unless
  3   Defendants are enjoined by this Court.
  4

  5                   INFRINGEMENT OF U.S. PATENT NO. 9,497,743
  6         55.    Wi-LAN incorporates the allegations of paragraphs 1 through 40
  7   above as if set forth verbatim herein.
  8         56.    On November 15, 2016, United States Patent No. 9.497.743 (“the
  9   ‘743 Patent”) was duly and legally issued for inventions entitled “Methods and
 10   Systems for Transmission of Multiple Modulated Signals Over Wireless
 11   Networks.” Wi-LAN owns the ‘743 Patent and holds the right to sue and recover
 12   damages for infringement thereof.
 13         57.    On information and belief, Defendants have directly infringed and
 14   continue to directly infringe numerous claims of the ‘743 Patent, including at least
 15   claims 1 and 6, by manufacturing, using, selling, offering to sell, and/or importing
 16   their respective accused 4G LTE devices. Defendants are liable for infringement of
 17   the ‘743 Patent pursuant to 35 U.S.C. § 271(a).
 18         58.    For example, the LG accused 4G LTE devices comply with the 4G
 19   LTE standards, including the UL-SCH data transfer procedure specified by 3GPP
 20   TS 36.321 at section 5.4. In particular, the accused 4G LTE devices first transmit a
 21   Scheduling Request (i.e., “an explicit message to the base station informing the
 22   base station that the cellular telephone has data awaiting transmission to the base
 23   station over the UL connection between the cellular telephone and the base
 24   station”) and then subsequently transmit a Buffer Status Report (i.e., a
 25   “information indicative of an amount of data awaiting transmission to the base
 26   station over the UL connection between the cellular telephone and the base
 27   station”).
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 14 -
      9,226,320, & 9,497,743.
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  1         59.    Defendants have been and are now indirectly infringing at least one
  2   claim of the ‘743 Patent in accordance with 35 U.S.C. § 271(b) in this district and
  3   elsewhere in the United States. More specifically, Defendants have been and are
  4   now actively inducing direct infringement by other persons (e.g., Defendants’
  5   customers who use, sell or offer for sale products that embody and/or otherwise
  6   practice one or more claims of the ‘743 Patent).
  7         60.    By at least the filing of this complaint, Defendants had knowledge of
  8   the ‘743 Patent, and that their actions resulted in a direct infringement of the ‘743
  9   Patent, and knew or were willfully blind that their actions would induce direct
 10   infringement by others and intended that their actions would induce direct
 11   infringement by others.
 12         61.    Defendants actively induce such infringement by, among other things,
 13   providing user manuals and other instruction material for their devices that induce
 14   their customers to use Defendants’ devices in their normal and customary way to
 15   infringe the ‘743 Patent. For example, LG’s website provides instructions for
 16   using the LG devices on 4G LTE networks. See, e.g., http://www.lg.com/us/4g-
 17   lte-phones (noting that “LG 4G LTE phones feature forward-thinking designs and
 18   innovative technology” and emphasizing the “4G LTE phone Network,” which
 19   permits the accused LG 4G LTE devices to “stay connected wherever you go on a
 20   super-fast LTE network, for seamless and reliable use.”). As does LG’s user
 21   documentation for the accused devices. See, e.g., http://www.lg.com/us/support-
 22   mobile/lg-H910-Silver (encouraging customers to use the “Enhanced LTE
 23   Service”).   Through its manufacture and sales of their devices, Defendants
 24   specifically intended for their customers to infringe the ‘743 Patent. Further,
 25   Defendants were aware that these normal and customary activities would infringe
 26   the ‘743 Patent.      Defendants performed the acts that constitute induced
 27   infringement, and that would induce actual infringement, with knowledge of the
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 15 -
      9,226,320, & 9,497,743.
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  1   ‘743 Patent and with the knowledge or willful blindness that the induced acts
  2   would constitute direct infringement.
  3         62.    Accordingly, a reasonable inference is that Defendants specifically
  4   intend for others, such as their customers, to directly infringe one or more claims
  5   of the ‘743 Patent in the United States because Defendants had knowledge of, and
  6   were aware of Wi-LAN’s infringement allegations concerning, the ‘743 Patent and
  7   actively induced others (e.g., its customers) to directly infringe the ‘743 Patent by
  8   using, selling, or offering to sell Defendants’ 4G LTE devices.
  9         63.    Defendants have been and are now indirectly infringing at least one
 10   claim of the ‘743 Patent in accordance with 35 U.S.C. § 271(c) in this district and
 11   elsewhere in the United States. More specifically, Defendants have been and are
 12   now providing non-staple articles of commerce to others for use in an infringing
 13   system or method with knowledge of the ‘743 Patent, and with knowledge that the
 14   use of their products resulted in a direct infringement of the ‘743 Patent by their
 15   customers, and with knowledge that these non-staple articles of commerce are used
 16   as a material part of the claimed invention of the ‘743 Patent.
 17         64.    Defendants’ devices compliant with 4G LTE include components
 18   comprising an application processor and a baseband processor specifically
 19   designed to support communication and transmission of data over 4G LTE-
 20   compliant networks. These components are mounted to a circuit board in
 21   Defendants’ accused devices and, absent these components, Defendants’ devices
 22   compliant with 4G LTE would not function in an acceptable manner to send or
 23   receive data over 4G LTE networks. A reasonable inference to be drawn from the
 24   facts set forth is that these components in Defendants’ devices are especially made
 25   or especially adapted to operate in the accused devices to provide wireless
 26   communication, including the transmission of data in accordance with the 4G LTE
 27   standard. Further, a reasonable inference to be drawn from the facts is that these
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 16 -
      9,226,320, & 9,497,743.
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  1   components comprising an application processor and a baseband processor are
  2   intended to support communication of data over a 4G LTE network and are not
  3   staple articles or commodities of commerce, and that the use of the components is
  4   required for operation of the devices to send or receive data over a 4G LTE-
  5   compliant network. Any other use would be unusual, far-fetched, illusory,
  6   occasional, aberrant, or experimental.
  7           65.   The components comprising an application processor and a baseband
  8   processor designed to support communication of data using 4G LTE in
  9   Defendants’ devices are each a material part of the invention of the ‘743 Patent and
 10   are especially made for the infringing manufacture, sale, and use of Defendants’
 11   accused devices. Defendants’ devices, including those components, are especially
 12   made or adapted to infringe the ‘743 Patent, and have no substantial non-infringing
 13   uses.
 14           66.   The ‘743 Patent is valid and enforceable.
 15           67.   Defendants’ infringement of the ‘743 Patent has damaged Wi-LAN,
 16   and Defendants are liable to Wi-LAN in an amount to be determined at trial that
 17   compensates Wi-LAN for the infringement, which by law can be no less than a
 18   reasonable royalty.
 19           68.   As a result of Defendants’ infringement of the ‘743 Patent, Wi-LAN
 20   has suffered irreparable harm and will continue to suffer loss and injury unless
 21   Defendants are enjoined by this Court.
 22                   INFRINGEMENT OF U.S. PATENT NO. 8,867,351
 23           69.   Wi-LAN incorporates the allegations of paragraphs 1 through 40
 24   above as if set forth verbatim herein.
 25           70.   On October 21, 2014, United States Patent No. 8,867,351 (“the ‘351
 26   Patent”) was duly and legally issued for inventions entitled “Apparatus, System,
 27   and Method for the Transmission of Data with Different QoS Attributes.” Wi-LAN
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 17 -
      9,226,320, & 9,497,743.
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  1   owns the ‘351 Patent and holds the right to sue and recover damages for
  2   infringement thereof.
  3         71.    On information and belief, Defendants have directly infringed and
  4   continue to directly infringe numerous claims of the ‘351 Patent, including at least
  5   claims 1 and 7, by manufacturing, using, selling, offering to sell, and/or importing
  6   their respective accused 4G LTE devices. Defendants are liable for infringement of
  7   the ‘351 Patent pursuant to 35 U.S.C. § 271(a).
  8         72.    For example, the LG accused 4G LTE devices comply with the 4G
  9   LTE standards, including the UL-SCH data transfer procedure specified by 3GPP
 10   TS 36.321 at section 5.4 and, even more specifically, the Logical Channel
 11   Prioritization procedure specified at section 5.4.3.1. In particular, the accused 4G
 12   LTE devices transfer data on “logical channels.” Prior to transfer, the MAC entity
 13   (i.e., “link controller”) queues data into “logical channel queues” that can have a
 14   “priority” and a prioritized bit rate (i.e., “traffic shaping rate”). The accused 4G
 15   LTE devices then examine the available channels to determine which queues to
 16   assign to which channels, and attempt to fill the transmission capacity of the
 17   channels. In this way, highest priority transmissions will be made first.
 18         73.    Defendants have been and are now indirectly infringing at least one
 19   claim of the ‘351 Patent in accordance with 35 U.S.C. § 271(b) in this district and
 20   elsewhere in the United States. More specifically, Defendants have been and are
 21   now actively inducing direct infringement by other persons (e.g., Defendants’
 22   customers who use, sell or offer for sale products that embody and/or otherwise
 23   practice one or more claims of the ‘351 Patent).
 24         74.    By at least the filing of this complaint, Defendants had knowledge of
 25   the ‘351 Patent, and that their actions resulted in a direct infringement of the ‘351
 26   Patent, and knew or were willfully blind that their actions would induce direct
 27

 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 18 -
      9,226,320, & 9,497,743.
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  1   infringement by others and intended that their actions would induce direct
  2   infringement by others.
  3         75.    Defendants actively induce such infringement by, among other things,
  4   providing user manuals and other instruction material for their devices that induce
  5   their customers to use Defendants’ devices in their normal and customary way to
  6   infringe the ‘351 Patent. For example, LG’s website provides instructions for
  7   using the LG devices on 4G LTE networks. See, e.g., http://www.lg.com/us/4g-
  8   lte-phones (noting that “LG 4G LTE phones feature forward-thinking designs and
  9   innovative technology” and emphasizing the “4G LTE phone Network,” which
 10   permits the accused LG 4G LTE devices to “stay connected wherever you go on a
 11   super-fast LTE network, for seamless and reliable use.”). As does LG’s user
 12   documentation for the accused devices. See, e.g., http://www.lg.com/us/support-
 13   mobile/lg-H910-Silver (encouraging customers to use the “Enhanced LTE
 14   Service”).   Through its manufacture and sales of their devices, Defendants
 15   specifically intended for their customers to infringe the ‘351 Patent. Further,
 16   Defendants were aware that these normal and customary activities would infringe
 17   the ‘351 Patent.      Defendants performed the acts that constitute induced
 18   infringement, and that would induce actual infringement, with knowledge of the
 19   ‘351 Patent and with the knowledge or willful blindness that the induced acts
 20   would constitute direct infringement.
 21         76.    Accordingly, a reasonable inference is that Defendants specifically
 22   intend for others, such as their customers, to directly infringe one or more claims
 23   of the ‘351 Patent in the United States because Defendants had knowledge of, and
 24   were aware of Wi-LAN’s infringement allegations concerning, the ‘351 Patent and
 25   actively induced others (e.g., its customers) to directly infringe the ‘351 Patent by
 26   using, selling, or offering to sell Defendants’ 4G LTE devices.
 27

 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 19 -
      9,226,320, & 9,497,743.
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  1         77.    Defendants have been and are now indirectly infringing at least one
  2   claim of the ‘351 Patent in accordance with 35 U.S.C. § 271(c) in this district and
  3   elsewhere in the United States. More specifically, Defendants have been and are
  4   now providing non-staple articles of commerce to others for use in an infringing
  5   system or method with knowledge of the ‘351 Patent, and with knowledge that the
  6   use of their products resulted in a direct infringement of the ‘351 Patent by their
  7   customers, and with knowledge that these non-staple articles of commerce are used
  8   as a material part of the claimed invention of the ‘351 Patent.
  9         78.    Defendants’ devices compliant with 4G LTE include components
 10   comprising an application processor and a baseband processor specifically
 11   designed to support communication and transmission of data over 4G LTE-
 12   compliant networks. These components are mounted to a circuit board in
 13   Defendants’ accused devices and, absent these components, Defendants’ devices
 14   compliant with 4G LTE would not function in an acceptable manner to send or
 15   receive data over 4G LTE networks. A reasonable inference to be drawn from the
 16   facts set forth is that these components in Defendants’ devices are especially made
 17   or especially adapted to operate in the accused devices to provide wireless
 18   communication, including the transmission of data in accordance with the 4G LTE
 19   standard. Further, a reasonable inference to be drawn from the facts is that these
 20   components comprising an application processor and a baseband processor are
 21   intended to support communication of data over a 4G LTE network and are not
 22   staple articles or commodities of commerce, and that the use of the components is
 23   required for operation of the devices to send or receive data over a 4G LTE-
 24   compliant network. Any other use would be unusual, far-fetched, illusory,
 25   occasional, aberrant, or experimental.
 26         79.    The components comprising an application processor and a baseband
 27   processor designed to support communication of data using 4G LTE in
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 20 -
      9,226,320, & 9,497,743.
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  1   Defendants’ devices are each a material part of the invention of the ‘351 Patent and
  2   are especially made for the infringing manufacture, sale, and use of Defendants’
  3   accused devices. Defendants’ devices, including those components, are especially
  4   made or adapted to infringe the ‘351 Patent, and have no substantial non-infringing
  5   uses.
  6           80.   The ‘351 Patent is valid and enforceable.
  7           81.   Defendants’ infringement of the ‘351 Patent has damaged Wi-LAN,
  8   and Defendants are liable to Wi-LAN in an amount to be determined at trial that
  9   compensates Wi-LAN for the infringement, which by law can be no less than a
 10   reasonable royalty.
 11           82.   As a result of Defendants’ infringement of the ‘351 Patent, Wi-LAN
 12   has suffered irreparable harm and will continue to suffer loss and injury unless
 13   Defendants are enjoined by this Court.
 14                   INFRINGEMENT OF U.S. PATENT NO. 9,226,320
 15           83.   Wi-LAN incorporates the allegations of paragraphs 1 through 40
 16   above as if set forth verbatim herein.
 17           84.   On December 29, 2015, United States Patent No. 9,226,320 (“the ‘320
 18   Patent”) was duly and legally issued for inventions entitled “Pre-Allocated
 19   Random Access Identifiers.” Wi-LAN owns the ‘320 Patent and holds the right to
 20   sue and recover damages for infringement thereof.
 21           85.   On information and belief, Defendants LG have directly infringed and
 22   continue to directly infringe numerous claims of the ‘320 Patent, including at least
 23   claim 27, by manufacturing, using, selling, offering to sell, and/or importing their
 24   respective accused 4G LTE devices. Defendants are liable for infringement of the
 25   ‘320 Patent pursuant to 35 U.S.C. § 271(a).
 26           86.   For example, the LG accused 4G LTE devices comply with the 4G
 27   LTE standards, including the non-contention based random access procedure
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 21 -
      9,226,320, & 9,497,743.
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  1   specified by 3GPP TS 36.300 at section 10.1.5.2. In particular, during handover,
  2   the accused 4G LTE devices receive an information element (IE) message
  3   (RACH-ConfigDedicated) that explicitly signals the         non-contention Random
  4   Access Preamble for use on the random access channel (i.e., “an indication of a
  5   non-contention reserved access identifier”) that uniquely identifies the mobile
  6   device, as well as System Information Blocks containing Random Access Channel
  7   related configuration information (i.e., “information about a shared random access
  8   channel”). The accused 4G LTE devices then transmit the assigned non-contention
  9   Random Access preamble to the target base station. Next, the accused 4G LTE
 10   devices receive from the target base station a Random Access Response that
 11   conveys Timing Alignment information (i.e., a feedback message comprising a
 12   timing adjustment”), including a timing advance command. Finally, the accused
 13   4G LTE devices adjust uplink transmission timing (i.e., “adjust uplink transmission
 14   timing”).
 15         87.    Defendants have been and are now indirectly infringing at least one
 16   claim of the ‘320 Patent in accordance with 35 U.S.C. § 271(b) in this district and
 17   elsewhere in the United States. More specifically, Defendants have been and are
 18   now actively inducing direct infringement by other persons (e.g., Defendants’
 19   customers who use, sell or offer for sale products that embody and/or otherwise
 20   practice one or more claims of the ‘320 Patent).
 21         88.    By at least the filing of this complaint, Defendants had knowledge of
 22   the ‘320 Patent, and that their actions resulted in a direct infringement of the ‘320
 23   Patent, and knew or were willfully blind that their actions would induce direct
 24   infringement by others and intended that their actions would induce direct
 25   infringement by others.
 26         89.    Defendants actively induce such infringement by, among other things,
 27   providing user manuals and other instruction material for their devices that induce
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 22 -
      9,226,320, & 9,497,743.
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  1   their customers to use Defendants’ devices in their normal and customary way to
  2   infringe the ‘320 Patent. For example, LG’s website provides instructions for
  3   using the LG devices on 4G LTE networks. See, e.g., http://www.lg.com/us/4g-
  4   lte-phones (noting that “LG 4G LTE phones feature forward-thinking designs and
  5   innovative technology” and emphasizing the “4G LTE phone Network,” which
  6   permits the accused LG 4G LTE devices to “stay connected wherever you go on a
  7   super-fast LTE network, for seamless and reliable use.”). As does LG’s user
  8   documentation for the accused devices. See, e.g., http://www.lg.com/us/support-
  9   mobile/lg-H910-Silver (encouraging customers to use the “Enhanced LTE
 10   Service”). Through its manufacture and sales of their devices, Defendants
 11   specifically intended for their customers to infringe the ‘320 Patent. Further,
 12   Defendants were aware that these normal and customary activities would infringe
 13   the ‘320 Patent.      Defendants performed the acts that constitute induced
 14   infringement, and that would induce actual infringement, with knowledge of the
 15   ‘320 Patent and with the knowledge or willful blindness that the induced acts
 16   would constitute direct infringement.
 17         90.    Accordingly, a reasonable inference is that Defendants specifically
 18   intend for others, such as their customers, to directly infringe one or more claims
 19   of the ‘320 Patent in the United States because Defendants had knowledge of, and
 20   were aware of Wi-LAN’s infringement allegations concerning, the ‘320 Patent and
 21   actively induced others (e.g., its customers) to directly infringe the ‘320 Patent by
 22   using, selling, or offering to sell Defendants’ 4G LTE devices.
 23         91.    Defendants have been and are now indirectly infringing at least one
 24   claim of the ‘320 Patent in accordance with 35 U.S.C. § 271(c) in this district and
 25   elsewhere in the United States. More specifically, Defendants have been and are
 26   now providing non-staple articles of commerce to others for use in an infringing
 27   system or method with knowledge of the ‘320 Patent, and with knowledge that the
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,       - 23 -
      9,226,320, & 9,497,743.
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  1   use of their products resulted in a direct infringement of the ‘320 Patent by their
  2   customers, and with knowledge that these non-staple articles of commerce are used
  3   as a material part of the claimed invention of the ‘320 Patent.
  4           92.   Defendants’ devices compliant with 4G LTE include components
  5   comprising an application processor and a baseband processor specifically
  6   designed to support communication and transmission of data over 4G LTE-
  7   compliant networks. These components are mounted to a circuit board in
  8   Defendants’ accused devices and, absent these components, Defendants’ devices
  9   compliant with 4G LTE would not function in an acceptable manner to send or
 10   receive data over 4G LTE networks. A reasonable inference to be drawn from the
 11   facts set forth is that these components in Defendants’ devices are especially made
 12   or especially adapted to operate in the accused devices to provide wireless
 13   communication, including the transmission of data in accordance with the 4G LTE
 14   standard. Further, a reasonable inference to be drawn from the facts is that these
 15   components comprising an application processor and a baseband processor are
 16   intended to support communication of data over a 4G LTE network and are not
 17   staple articles or commodities of commerce, and that the use of the components is
 18   required for operation of the devices to send or receive data over a 4G LTE-
 19   compliant network. Any other use would be unusual, far-fetched, illusory,
 20   occasional, aberrant, or experimental.
 21           93.   The components comprising an application processor and a baseband
 22   processor designed to support communication of data using 4G LTE in
 23   Defendants’ devices are each a material part of the invention of the ‘320 Patent and
 24   are especially made for the infringing manufacture, sale, and use of Defendants’
 25   accused devices. Defendants’ devices, including those components, are especially
 26   made or adapted to infringe the ‘320 Patent, and have no substantial non-infringing
 27   uses.
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 24 -
      9,226,320, & 9,497,743.
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  1          94.     The ‘320 Patent is valid and enforceable.
  2          95.     Defendants’ infringement of the ‘320 Patent has damaged Wi-LAN,
  3   and Defendants are liable to Wi-LAN in an amount to be determined at trial that
  4   compensates Wi-LAN for the infringement, which by law can be no less than a
  5   reasonable royalty.
  6          96.     As a result of Defendants’ infringement of the ‘320 Patent, Wi-LAN
  7   has suffered irreparable harm and will continue to suffer loss and injury unless
  8   Defendants are enjoined by this Court.
  9                                   PRAYER FOR RELIEF
 10   WHEREFORE, Wi-LAN prays for the following relief:
 11          97.     A judgment in favor of Wi-LAN that Defendants have infringed and
 12   are infringing U.S. Patent Nos. 8,787,924; 8,867,351; 9,226,320; and 9.497,743.
 13          98.     An order permanently enjoining Defendants, their respective officers,
 14   agents, employees, and those activing in privity with it, from further direct and/or
 15   indirect infringement of U.S. Patent Nos. 8,787,924; 8,867,351; 9,226,320; and
 16   9.497,743.
 17          99.     An award of damages to Wi-LAN arising out of Defendants’
 18   infringement of U.S. Patent Nos. 8,787,924; 8,867,351; 9,226,320; and 9.497,743,
 19   including enhanced damages pursuant to 35 U.S.C. § 284, together with
 20   prejudgment and post-judgment interest, in an amount according to proof;
 21          100. An award of an ongoing royalty for Defendants’ post-judgment
 22   infringement in an amount according to proof;
 23          101. Declaring that Defendants’ infringement is willful and that this is an
 24   exceptional case under 35 U.S.C. § 285 and awarding attorneys’ fees and costs in
 25   this action.
 26          102. Granting Wi-LAN its costs and further relief as the Court may deem
 27   just and proper.
 28
      COMPLAINT - INFRINGEMENT OF U.S.
      PATENT NOS. 8,787,924, 8,867,351,        - 25 -
      9,226,320, & 9,497,743.
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  1                              DEMAND FOR JURY TRIAL
  2         103. Wi-LAN demands a trial by jury of any and all issues triable of right
  3   before a jury.
  4

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      PATENT NOS. 8,787,924, 8,867,351,       - 26 -
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